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                                   TJNITED STATES DISTRICT COI]RT
                                   NORTMRN DISTRICT OF ILLINOIS

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                                                                                                          THOMAS G BRI'TON
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@nter abovethe fullname
of the plaintiffor plaintitrs in
thisaction)                                                  1:18-Cv-.?584
                                                             Judge Jorge Alorpo
              vs'                                            iragft*ra*Judtrric*                                T.   taon
                                                             PC     I
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(Enter above the fulInams sf AL1
defendants in this action. Do not
use "et al.")

CHECK ONE ONLY:

                    coMpLArNT       ITNDER Tm CIWL RTGHTS ACT, TrrLE 42 SECTTON 1983
                    U.S. Code (state, county, ormunicipal defendants)

                    coMpLArNT  TINDER Tm CONSTTTUTION ("B[VENS" ACTTOIg, TITLE
                    28 SECTION 1331U.S. Code (fedeqal defendantb)

                    OTffiR       (cite statute, if known)

BEFORE FILLING OUT THIS COMPLAINT, PLfuTSE REFERTO "INSTRUCTIONS FOR
FILING" FOLLOW THESE INSTRACTIONS CAREFULLY.




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L     Plaintiff(s):

      A.           Name:     /' /lolt $rn^tt
      B.           List all aliases:                /1,//A
      C-                               ,,v laa1
                   Prisoner identificationnumber:

      D. Place of present confinement furtl I e"A Co r rzc{ ton                                            q.



      E. Address: 7co r L) ntt lrt S)vz* f r,nltu t- t /'/74/
      (If there                 plaintiff, then each plaintiffmust li* his or her name, aliases, I.D.
                    is more than one
      number, place of confinement, and curre, rt address according to the above format on a
      separate sheet of paper.)

II.   Defendant(s):
      (In A below, place the firII name of the first defendant in the first blank, his or her official
      position in the second blanh and his or her place of employment in the third blank. Space
      for two additional defendants is provided in B and C.)

      A.           Defendant:

                   Title:

                   Place of    Employment tr              ,,r I t' (, L (orrccl\ orts
                                                     v

      B.                               o(ei t<r
                   Defendanr
                                                f nt, /.'ee
                   Title:

                   Place of Employnent:

      C.           Defendant:         Cl#rtf<r 5 < nV-.t nS

                   Place    ofEmployment:           r'      t/ t?'    L    Lo   v   r<.t{t u-t
      (If you have more than three defendants, then all additional                             defendants must be listed
      according to the above format on a separate sheet of paper.)




                                                                                                                     Revised 9/2007




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          1:18-cv-01230-JES # 1                        Page 3 of 9

      [f   you need additional space for ANY section, please attach an additional sheet and reference that section.]




m.   List ALL lawsuits you (and your co-plaintiffs, if any) have filed in any state or federal
     court in the United States:

     A.            Name ofcase anddocketnumber:                      \   I" - COX5C:

     B.            Approximate date 6f filing           lawsuit          U*?     A   JA
     C.            List all plaintiffs (if you had co-plaintiffs), including any aliases:




     D.            Listalldefendants:            A(lrta <r 7 ccri3 f2 77' ^ T:qi\



     E.            Court in which the lawsuit was filed (if federal court, name the district; if state cour!
                   namethecounty):  Lir,r{)n'.n t-\r\-.tq! o€ r lt ) na,' e ?ae/rra hiv,\irn
     F.            Name ofjudge to whom case rvas assigned: Lltarld t haLorc*<

     G.




     H.            Disposition of this case (for
                   Is it still pending?):




                   Approximate date ofdispositi             on TAtz          qaru -7d 7O /f

IF YOU HAVE FrLED MORE TrrAN ONE LAWSUIT, THEIi                                          ygu     MUST DESCRTBE TrrF.
ADDITIONAL LAWSTIITS ON ANOTMR PMCE OF PAPE& USING THIS SAME
FORMA'T. REGARDLESS OF HOW MANY CASES YOU HAYE PREVIOUSLY FILED,
YOU WILL NOT BE EXCUSED FROM FILLING OUT THIS SECTION COMPLETELY,
AND FAILIIRE TO DO SO MAY RESTJLT IN DISMISSAL OF YOT]R CASE. CO.
PLAINTIFFS MUST ALSO LIST ALL CASES THF',Y HAVE F'ILED.




                                                                                                                      Revised 9/2007




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        1:18-cv-01230-JES # 1                       Page 4 of 9

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IV.   Statement of Claim:

      State here as briefly as possible the facts of               yow case. Describe how each defendant is
      involved including names, dates, and places. Do not give any legal arguments or cite any
      cases or statutes. If you intend to allege a number ofrelated slaims, number and set forth
      each claim in a separate paragraph. (Use as much space as you need. Attach extra sheets
      if necessary.)




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Y.    Relief:

      State briefly exactly what you want the court to do for you.                      Malie no legal arguments. Cite
      no cases or statutes.




vI.   The ptaintiff demands that the case be tried by                   a   jury.
                                                                                    {       *t           trNo

                                                                        CERTIFICATION

                                      By signing this Complaint,      I certi$ that the facts stated in this
                                      Complaint are true to the best of my knowledge, information and
                                      belief. I understand that if this certification is not correct I may be
                                      subject to sanctions by the Court.

                                       Signed    this fiztolz         day    of lFo              ,   20i-8-



                                                         plaintiffor plaintiffs)




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